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Plaintiff, )
)
vs. . ) Criminal No. 05 012 {("QQ`
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oEBoRAl-i McGlNle, ) MO_TI°N GMTED N PHIPPS n@<;i._jiir,)\.__
) .s. mims sums
Defendant. ) `

 

MOT|ON OF UNITED STATES FOR ADD|TIONAL TlME TO RESPOND TO
DEFENDANT'S MOT|ON TO SUPPRESS AND MEMORANDUM lN SUPPORT

 

Comes now the United States and moves this Honorable Court for eleven (11)

days from the filing of this motion to respond to defendant's motion to suppress
MEMORANDUM |N SUPPORT

On June 30, 2005, defendant Deborah McGinnis filed a motion to suppress in
the above-styled case. The undersigned Assistant United States Attorney handling this
case left the United States on June 17, 2005 on government business The
undersigned did not return to the office until July 5, 2005. Due to the absence from the
office and, in fact, from the United States of the undersigned attorney, the United States
respectfully requests eleven (11) days from the date of the filing of this motion to
respond to this motion to suppress filed by Ms. lVchinnis.

The United States has attempted to contact Bruce l. Griffey, counsel for Ms.

McGinnis, regarding this motion but has been unabie to contact him.

Thls document entered on the docket sheet]n co p|lance 53
with nuie 55 and/or szrb) inqch en fl ' l 'Oén -

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Respectfully submitted,

TERREL L. HARR|S

 

Assistant United States Attorney
167 N. Main, Room 800
Memphis, TN 38103

(#011501 Tennessee)

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CERT|FICATE OF SERV|CE

 

l, Frederick H. Godwin, Assistant United States Attorney for the Western District
of Tennessee, hereby certify that a copy of the foregoing MOT|ON has been mailed,
first class postage pre-paid, to Bruce Griffey, 142 North Third Street, 3rd Floor,

Memphis, TN 38103

This :]_W'Uay of Ju|yl 2005.

/»L,

Frederick H. Godwin

Assistant United States Attorney
167 N. lVlain, Room 800
Memphis, TN 38103

 

   

UNITED sTATE DRISTIC COURT - WE TER D'ST'CT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20128 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Frederick H. chWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Bruce I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY
142 North Third St.

3rd Flccr

Memphis7 TN 38103

Honcrable J on McCalla
US DISTRICT COURT

